                                                                                     CLERKS OFFICE U.S. DIST. COURT
                                                                                        AT CHARLOTTESVILLE, VA
                                                                                              FILED
                                                                                           10/30/2019
                            IN THE UNITED STATES DISTRICT COURT
                                                                                         JULIA C. DUDLEY, CLERK
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                                                                         BY: /s/ J. JONES
                                     Charlottesville Division
                                                                                            DEPUTY CLERK
  ELIZABETH SINES et al.,                          )       Civil Action No. 3:17-cv-00072
       Plaintiffs,                                 )
                                                   )       ORDER FOR ELLIOT KLINE TO
  v.                                               )       SHOW CAUSE & CERTIFICATION
                                                   )       UNDER 28 U.S.C. § 636(e)(6)(B)(iii)
  JASON KESSLER et al.,                            )
       Defendants.                                 )       By:     Joel C. Hoppe
                                                   )               United States Magistrate Judge

          This matter is before the Court on Plaintiffs’ second motion for sanctions against

  Defendant Elliot Kline (a.k.a. Eli Mosley). ECF No. 565 (“Pls.’ Second Mot. for Sanctions”).

  Kline, who is representing himself, ECF No. 347, did not file a brief opposing this motion within

  the fourteen days allowed by the Scheduling Order, ECF No. 101. On October 18, 2019, I held a

  hearing at which counsel for Plaintiffs and all represented Defendants, as well as several other

  pro se Defendants, appeared by telephone. ECF No. 579. At 1:56 that morning, Kline emailed

  my Chambers and acknowledged he had received notice of the hearing. He did not appear during

  that afternoon’s two-hour conference call. See ECF No. 581.

          Plaintiffs contend that Kline has disobeyed multiple Court orders directing him to provide

  or permit discovery of materials and information that go to the heart of this lawsuit. See Pls.’

  Second Mot. for Sanctions 5–23.1 They also assert that, although Kline did attend a court-

  ordered deposition about his conduct in pretrial discovery, his testimony was evasive, “internally

  inconsistent[,] and contradicted by the evidence produced by others in the case.” Id. at 8; see

  Second Order to Def. Kline (Aug. 2, 2019), ECF No. 533; Order to Def. Kline (July 3, 2019),

  ECF No. 516. Kline’s testimony also “strongly suggested that he has withheld and continues to


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    Pinpoint citations to documents electronically filed with this Court, except for transcripts of court
  proceedings and depositions, use the footer page numbers generated by CM/ECF. Pinpoint citations to
  transcripts use the page numbers printed on the upper right-hand corner of the document.
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Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 1 of 14 Pageid#: 7254
  withhold, if he has not outright destroyed, documents and electronic devices central to this

  litigation.” Pls.’ Second Mot. for Sanctions 8. Plaintiffs ask the Court to levy a daily fine against

  “Kline for each day that he remains in contempt” of the Court’s prior discovery orders, issue a

  bench warrant for Kline’s immediate arrest and detention until he complies with those orders,

  impose certain evidentiary sanctions to be enforced against Kline at trial, and award reasonable

  attorney’s fees and costs. Id. at 4; see Fed. R. Civ. P. 37(b)(2)(A).

                                           I. The Legal Framework

          Rule 37(b)(2) of the Federal Rules of Civil Procedure grants the district court where an

  action is pending broad discretion to impose sanctions whenever “a party . . . fails to obey an

  order to provide or permit discovery,” Fed. R. Civ. P. 37(b)(2)(A).2 See Law Funder, L.L.C. v.

  Munoz, 924 F.3d 753, 758 (5th Cir. 2019). This rule “contains two standards—one general and

  one specific—that limit a district court’s discretion. First, any sanction must be ‘just’; second,

  the sanction must be specifically related to the particular ‘claim’ which was at issue in the order

  to provide discovery.” Ins. Corp. of Ir. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 707

  (1982). “Rule 37 sanctions must be applied diligently,” Roadway Express, Inc. v. Piper, 447 U.S.

  752, 763 (1980), “both as a matter of justice in the individual case and ‘to deter others who might

  be tempted to similar conduct,’” Lee v. Max Int’l, 638 F.3d 1318, 1320 (10th Cir. 2011)

  (Gorsuch, J.) (brackets omitted) (quoting Nat’l Hockey League v. Metro. Hockey Club, Inc., 427


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    Federal courts also have inherent power to sanction conduct that offends the legal process, including a
  party’s “fail[ure] to preserve or produce” discoverable information for another’s use in litigation. Hodge
  v. Wal-Mart Stores, Inc., 360 F.3d 446, 450 (4th Cir. 2004); see Poole ex rel. Elliott v. Textron, Inc., 192
  F.R.D. 494, 497–99 (D. Md. 2000). In this case, Rule 37(b)(2)(A)(vii) and 28 U.S.C. § 636(e)(6)(B)(iii)
  provide an adequate framework for sanctioning Kline’s repeated failures to obey court orders directing
  him to provide or permit discovery. See Chambers v. NASCO, Inc., 501 U.S. 32, 50 (1991) (“[W]hen
  there is bad-faith conduct in the course of litigation that could be adequately sanctioned under the Rules,
  the court ordinarily should rely on the Rules rather than [its] inherent power. But if in the informed
  discretion of the court, neither [a] statute or the Rules are up to the task, the court may safely rely on its
  inherent power.”).
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Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 2 of 14 Pageid#: 7255
  U.S. 639, 643 (1976)). See Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497, 533–34

  (D. Md. 2010) (explaining that Rule 37 sanctions serve both normative and compensatory

  functions). The sanctions listed in Rule 37(b)(2)(A) are “flexible, selective, and plural. The

  district court may, within reason, use as many and as varied sanctions as are necessary,” 8B

  Charles Wright & Arthur Miller, Federal Practice & Procedure § 2284 (3d ed. 2002), to achieve

  these goals in a particular case. Specific options include orders deeming certain facts established,

  allowing or requiring an adverse inference, and entering default judgment against the disobedient

  party. See Victor Stanley, 269 F.R.D. at 533–34 (citing Fed. R. Civ. P. 37(b)(2)(A)). The court

  may also “treat[] as contempt of court the failure to obey any order except an order to submit to a

  physical or mental examination.” Fed. R. Civ. P. 37(b)(2)(A)(vii).

         The Federal Magistrates Act, 28 U.S.C. § 636, defines a magistrate judge’s contempt

  authority where an act of civil contempt “occur[s] outside of the magistrate judge’s presence, and

  not in a proceeding where the magistrate judge [is] presiding” with the parties’ consent under

  § 636(c). Wallace v. Kmart Corp., 687 F.3d 86, 92 (3d Cir. 2012) (capitalization altered); see 28

  U.S.C. § 636(e)(6). A magistrate judge “overseeing pretrial proceedings,” Wallace, 687 F.3d at

  92, who is “faced with an act that ‘constitutes a civil contempt, . . . shall forthwith certify the

  facts to a district judge,’” Defrees v. Kirkland, No. CV 11-4272, 2016 WL 4595937, at *2 (C.D.

  Cal. Mar. 1, 2016) (quoting 28 U.S.C. § 636(e)(6)(B)(iii)). The magistrate judge also

         may serve or caused to be served, upon any person whose behavior is brought into
         question under this paragraph, an order requiring such person to appear before a
         district judge upon a day certain to show cause why that person should not be
         adjudged in contempt by reason of the facts so certified.

  28 U.S.C. § 636(e)(6). “The district judge shall thereupon hear the evidence as to the act or

  conduct complained of and, if it is such to warrant punishment, punish such person in the same

  manner and to the same extent as for a contempt committed before a district judge.” Id.


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Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 3 of 14 Pageid#: 7256
         The magistrate judge’s role in certifying facts under § 636(e)(6) is “to determine whether

  the moving party can adduce sufficient evidence to establish a prima facie case of contempt.”

  Church v. Steller, 35 F. Supp. 2d 215, 217 (N.D.N.Y. 1999) (citing Proctor v. State Gov’t of

  N.C., 830 F.2d 514, 521 (4th Cir. 1987)). To establish civil contempt, a movant must produce

  “clear and convincing evidence” showing:

         (1) the existence of a valid decree of which the alleged contemnor had actual or
         constructive knowledge; (2) that the decree was in the movant’s favor; (3) that the
         alleged contemnor by [his or her] conduct violated the terms of the decree, and had
         knowledge (at least constructive) of such violations; and (4) that the movant
         suffered harm as a result.

  JTH Tax, Inc. v. H&R Block E. Tax Servs., Inc., 359 F.3d 699, 705 (4th Cir. 2004) (cleaned up).

  Where the contemnor had “at least constructive” knowledge that he or she violated a specific

  court order, id., “[t]he absence of willfulness [should] not relieve from civil contempt,” McComb

  v. Jacksonville Paper Co., 336 U.S. 187, 191 (1949). See McLean v. Cent. States, Se. & Sw.

  Areas Pension Fund, 762 F.2d 1204, 1210 (4th Cir. 1985) (“[G]ood faith alone does not

  immunize a party from a civil contempt sanction for non-compliance with a court order.” (citing

  McComb, 336 U.S. at 191)).

                                         II. Certified Facts

         The undersigned hereby CERTIFIES the following facts to the Honorable Norman K.

  Moon, Senior United States District Judge. 28 U.S.C. § 636(e)(6)(B). A more detailed summary

  of this case’s procedural history can be found in my Memorandum Opinion of August 9, 2019,

  ECF No. 539.

   1.    On January 25, 2018, Plaintiffs served their First Set of Requests for Production of

         Documents and First Set of Interrogatories on Kline through his counsel of record. See

         Mem. Op. of Aug. 9, 2019, at 12 (citing Pls.’ Mot. for Sanctions Against Defs. Kline &

         Heimbach 5–6, 10–11, ECF No. 457). The requests asked Kline to produce “all
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Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 4 of 14 Pageid#: 7257
        documents and communications concerning the events” described in the Amended

        Complaint, including any emails, text messages, recordings, or social media content

        related to the “preparation, planning, transportation to, or coordination for” those events.

        Id. (citing Pls.’ Mot. for Sanctions Against Defs. Kline & Heimbach Ex. 8, ECF No. 457-

        8). The interrogatories asked Kline to “identify, among other things, all means of

        communication used to discuss the events, . . . as well as the [specific] electronic devices

        used for such communications.” Id. (citing Pls.’ Mot. for Sanctions Against Defs. Kline

        & Heimbach Ex. 9, ECF No. 457-9). Kline’s proper responses or objections were due by

        February 26, 2018. Id. (citing Fed. R. Civ. P. 33(b)(2), 34(b)(2)).

   2.   On March 16, I instructed the parties that it was “incumbent upon everyone to preserve

        any potentially relevant evidence” and that I took “everyone’s obligation to preserve this

        evidence very seriously.” Tr. of Mar. 16, 2018 Conf. Call 24, ECF No. 282.

   3.   On March 26, I entered an Order giving Kline (and all Defendants) an additional twenty-

        one days to answer, respond, or object to Plaintiffs’ written discovery requests. See Order

        of Mar. 26, 2018, ECF No. 287.

   4.   On June 5, Kline’s counsel stated on the record that Kline “steps in and out of

        participating in the litigation at his leisure.” Tr. of June 5, 2018 Conf. Call 16, ECF No.

        327. Kline was “not resisting discovery so much as just not participating at all at [that]

        point.” Id. On July 23, defense counsel informed the Court that Kline had stopped

        communicating with them after they asked him “more than once[] to let [them] know . . .

        a convenient time and place” for Plaintiffs’ counsel to schedule Kline’s deposition. ECF

        No. 345.




                                                  5

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 5 of 14 Pageid#: 7258
   5.   On July 25, I granted defense counsel’s motion to withdraw from representing Kline in

        this matter. ECF No. 347. He has been representing himself since that time.

   6.   On November 9, Kline failed to appear for a telephonic hearing on Plaintiffs’ motion to

        compel, ECF No. 354, as well as their request that Kline sign a Stored Communications

        Act (“SCA”) form allowing Discord, an online content provider, to respond to Plaintiffs’

        subpoena duces tecum. See Mem. Op. of Aug. 9, 2019, at 18 (citing Tr. of Hr’g on Pls.’

        Mot. to Compel, ECF No. 385).

   7.   I granted Plaintiffs’ Motion to Compel Defendants to Permit Inspection and Imaging of

        Electronic Devices. Order of Nov. 13, 2018, ECF No. 379. Ten months had passed,

        Defendants still had not produced the vast majority of the requested documents, Tr. of

        Hr’g on Pls.’ Mot. to Compel 8, and there were still concerns that “some relevant

        information may have been lost,” id. at 27. Thus, “ordering the parties to submit their

        electronic devices to a third-party vendor for imaging [was] necessary and appropriate to

        manage discovery in this action.” Order of Nov. 13, 2018, at 1.

   8.   On November 19, I entered a “Stipulation and Order for the Imaging, Preservation, and

        Production of Documents.” ECF No. 383. The Order gave Kline (and other Defendants)

        twenty-eight days—i.e., until December 17, 2018—to “make available to the Third Party

        Discovery Vendor for imaging and collection any Electronic Devices or Social Media

        Account” credentials identified on his sworn certification form. Mem. Op. of Aug. 9,

        2019, at 19–20. Kline did not comply with this Order. Id. at 20 (citing ECF No. 400).

   9.   Between January 4 and March 18, 2019, Kline missed five scheduled court conferences.

        See Mem. Op. of Aug. 9, 2019, at 20–22 (describing the Deputy Clerk’s efforts to contact

        Kline by telephone and email before scheduling each hearing and sending notices of the



                                                 6

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 6 of 14 Pageid#: 7259
         scheduled hearings to Kline’s voicemail, email, and physical mailing address of record)

         (citing ECF Nos. 388, 400, 401, 402, 407, 409, 414, 425, 429).

   10.   On March 4, I entered an Order that “[a]ll Defendants covered by the Stipulation &

         Order, ECF No. 383, must produce their electronic devices and social media account

         credentials . . . to the third-party vendor by the end of the day on Friday, March 8, 2019.”

         Order of Mar. 4, 2019, ECF No. 440 (emphasis omitted). Kline did not comply with this

         Order.

   11.   On June 3, I held a hearing on Plaintiffs’ first motion for sanctions against Kline and

         another pro se Defendant. See Tr. of Hr’g on Pls.’ Mots. for Sanctions, ECF No. 504. The

         Deputy Clerk of Court sent three notices to Kline, but he did not appear at the hearing or

         acknowledge the Court’s communications. Mem. Op. of Aug. 9, 2019, at 26.

   12.   At the June 3 hearing, I explained that Kline’s “conduct to date was ‘clearly sanctionable’

         and that I intended to award costs and reasonable attorney’s fees caused by [his] failure to

         comply with my discovery orders.” Mem. Op. of Aug. 9, 2019, at 26 (quoting Tr. of Hr’g

         on Pls.’ Mots. for Sanctions 20). In my view, production was still preferable to Plaintiffs’

         requested evidentiary sanctions at that point in the litigation. See id. (citing Tr. of Hr’g on

         Pls.’ Mots. for Sanctions 9–10, 18).

   13.   I proposed that the Court direct the United States Marshals Service (“USMS”) to serve a

         written order on Kline that: (i) “identified specifically the ESI accounts and devices” he

         must produce; (ii) told Kline that he “must personally appear for a deposition in this

         federal courthouse on a date certain, and must bring the identified ESI accounts and

         devices with him to the deposition”; and (iii) clearly explained that if Kline “failed in any

         way to comply with the Order, the Court could immediately issue a bench warrant



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Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 7 of 14 Pageid#: 7260
         directing the USMS to arrest him, transport him to this judicial district, and hold him in

         custody until he purged himself of civil contempt.” Mem. Op. of Aug. 9, 2019, at 26–27

         (citing Tr. of Hr’g on Pls.’ Mots. for Sanctions 10). This step appeared necessary because

         Kline had ignored similar “orders telling [him] to do this before.” Id. at 27 (citing Tr. of

         Hr’g on Pls.’ Mots. for Sanctions 14).

   14.   On June 7, Plaintiffs’ counsel informed the Court that Kline had reached out to his former

         attorney after seeing social-media reports about the June 3 hearing. See Email from M.

         Bloch to J. Hoppe et al. (June 7, 2019 4:08 PM). According to Kline’s former counsel,

         “The word ‘arrest’ . . . had a near magical effect on” Kline. Email from J. Kolenich to M.

         Bloch (June 7, 2019), ECF No. 566-1. Kline’s former counsel gave Plaintiffs’ counsel a

         phone number where they could reach Kline and noted that he had “been fully informed

         of the discovery/ESI expectations.” Id.

   15.   On June 21, I issued an Order taking Plaintiffs’ first motion for sanctions under

         advisement. Order of June 21, 2019, ECF No. 508. The Order outlined five discovery-

         related issues that Kline should be prepared to discuss at an upcoming conference call

         with the Court and Plaintiffs’ counsel, id. at 2–4, and explained the Court’s expectation

         that Kline would “appear at this hearing and make a good faith effort to provide or permit

         prompt and complete discovery responses, as required by the Federal Rules . . . and this

         Court’s prior orders,” id. at 2.

   16.   Kline did appear as directed. See Tr. of July 2, 2019 Disc. Hr’g, ECF No. 519. At the

         hearing, Kline indicated that he was “willing to participate in the litigation from now on.”

         Mem. Op. of Aug. 9, 2019, at 28; see Tr. of July 2, 2019 Disc. Hr’g 13, 19–21, 33–34.

         Kline also confirmed on the record that he “received each of the Orders, discovery



                                                   8

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 8 of 14 Pageid#: 7261
            requests, and . . . consent forms that explain[ed] his outstanding discovery obligations.”

            Order to Def. Kline 1; see Tr. of July 2, 2019 Disc. Hr’g 21, 31–37. He did not have any

            questions about the Court’s expectations of him. Tr. of July 2, 2019 Disc. Hr’g 39–40.

      17.   On July 3, I issued an Order directing Kline “to comply with certain ‘steps and deadlines’

            over the next twenty-one days,” Mem. Op. of Aug. 9, 2019, at 28 (quoting Order to Def.

            Kline 1), which we had discussed in detail at the hearing one day earlier, see Tr. of July

            2, 2019, at 34–37. This Order set out Kline’s still-outstanding discovery obligations at

            issue in my Orders of June 21, 2019, March 4, 2019, November 19, 2018, and March 26,

            2018. See Mem. Op. of Aug. 9, 2019, at 28 n.10.3

      18.   My Orders of June 21 and July 3 also directed Kline to sit for a scheduled deposition by

            Plaintiffs’ counsel devoted exclusively to Kline’s conduct in pretrial discovery, including

            his efforts to preserve any documents, information, or materials that are potentially

            relevant to this litigation. Order of June 21, 2019, at 4; Order to Def. Kline 2–3. Letting

            Plaintiffs depose Kline about “the preservation of potentially discoverable information

            [was] necessary to address the significant deficiencies” in his discovery responses to date.

            Order of June 21, 2019, at 4. I also made clear that I expected Kline to “participate in




  3
   Specifically, I gave Kline (i) seven days from the Order to “[g]ive Plaintiffs’ counsel complete and
  accurate SCA consent forms” allowing certain social media providers to produce responsive ESI, to
  execute the Third Party Discovery Vendor contract, and to “[c]omplete and give to Plaintiffs’ counsel the
  Certification Form attached as Exhibit A to the Stipulation and Order; (ii) fourteen days from the Order to
  “[m]ake available to the Third Party Discovery Vendor for imaging and collection any Electronic Devices
  or Social Media Account credentials” identified on that Defendant’s Certification form; and (iii) twenty-
  one days from the Order to “[p]rovide complete and accurate” written answers or responses to Plaintiffs’
  First Set of Interrogatories and First Set of Requests for Production, and to “produce or permit inspection
  of any requested documents or ESI that were not collected by the Discovery Vendor.” Order to Def. Kline
  1–2 (citing Order of June 21, 2019, at 3 & n.2; Order of Mar. 4, 2019, at 2–3; Order of Nov. 13, 2018, at
  2; Order of Mar. 26, 2018, at 3).
                                                      9

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 9 of 14 Pageid#: 7262
          good faith” during this deposition. Order to Def. Kline 3; see Fed. R. Civ. P. 30(d),

          37(a)(4).

    19.   On July 23, Plaintiffs’ counsel informed me that Kline had not complied with any of the

          deadlines in the July 3 Order. ECF No. 528. Kline finally executed the Vendor contract

          on August 1, three weeks after the final deadline to do so. See Decl. of J. Phillips 2, ECF

          No. 566.

    20.   On August 2, I directed Kline and Plaintiffs’ counsel to attend a conference call the

          following week to discuss Kline’s compliance. See Second Order to Def. Kline 1. I also

          “expect[ed] a report on Kline’s good-faith participation at his deposition” on August 7.

          Id. (citing ECF Nos. 508, 516). I had previously explained to Kline that I expected him to

          testify truthfully and demonstrate that he took his discovery obligations seriously. See,

          e.g., Tr. of July 2, 2019 Disc. Hr’g 7, 12–13, 18–21, 31–34.

    21.   Kline attended the deposition on August 7 as directed. He finally signed the SCA consent

          forms, which I had ordered him to provide to Plaintiffs’ counsel on or before July 9,

          2019. See Pls.’ Second Mot. for Sanctions 7–8; Order to Def. Kline 1–2. Kline also filled

          out a Certification form, but he did not list all of his email addresses, passwords for his

          social media accounts, or a number for one of his phones. See Decl. of J. Phillips 4.

    22.   Most of Kline’s answers during the August 7 deposition were evasive, internally

          inconsistent, or simply not believable. See generally Pls.’ Second Mot. for Sanctions 8–

          17. For example, Kline repeatedly admitted that both the Court and Plaintiffs’ counsel

          had contacted him at the correct email address, phone number, and physical address. See,

          e.g., E. Kline Dep. Tr. 35–36, 38, 269–71, 293–98, 302 (Aug. 7, 2019), ECF No. 566-3.

          Yet, Kline testified that he “didn’t know” which Court conferences he “was supposed to



                                                   10

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 10 of 14 Pageid#: 7263
          attend,” id. at 267, and that he “wasn’t given a means” to provide requested discovery, id.

          at 140. See also id. at 138, 141–42, 203–08, 239, 250–51, 266, 291–92, 295–97, 299–

          301, 303, 305, 318. Or, if he received this information, he just never bothered to do

          anything with it. See id. at 203, 204–08, 291–92, 301, 303, 305.

    23.   Kline admitted that he had responsive information and documents in his possession, he

          understood his obligation to produce those materials to Plaintiffs, and his former counsel

          had explained that he must preserve potentially relevant evidence for discovery. Kline

          never took any steps to preserve this information, such as backing up his emails or the

          contents of his phones. See generally E. Kline Dep. Tr. 82, 91–92, 139, 209–10, 214–17,

          219–21, 225–26, 229–33, 244–45, 273.

    24.   On August 8, I held a conference call with Kline and Plaintiffs’ counsel to discuss

          Kline’s non-compliance with the July 3 Order. ECF No. 543. The same day, I issued

          another Order for Kline to satisfy his discovery obligations. See Third Order to Def.

          Kline 1–2, ECF No. 538. He was supposed to provide all electronic devices and social-

          media credentials to the Vendor by August 14 and respond to Plaintiffs’ written

          discovery requests by August 16. Id. Kline missed these deadlines. See Email from J.

          Bloch to J. Hoppe et al. (Oct. 16, 2019, 11:16 PM).

    25.   On October 18, I held a status and motion hearing at which counsel for Plaintiffs and all

          represented Defendants, as well as several pro se Defendants, appeared by telephone.

          ECF No. 579. Just before 2:00 a.m., Kline (using his online alias “Eli Mosley”) emailed

          my Chambers and acknowledged that he had received notice of the hearing, as well as

          Plaintiffs’ counsel’s October 16 email to Chambers and all parties. See Email from E.

          Mosley to J. Hoppe et al. (Oct. 18, 2019, 1:56 AM). He asked the Court or “someone” to



                                                  11

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 11 of 14 Pageid#: 7264
          call him “with any issues or questions” about his discovery obligations. Kline did not

          appear during that afternoon’s two-hour conference call.

                                           III. Order to Appear

          The facts certified above, in my opinion, show that Kline disobeyed seven court orders

   requiring him to provide or permit discovery of relevant materials and information for Plaintiffs’

   use in this litigation. ECF Nos. 287, 383, 397, 440, 508, 516, 538. Accordingly, it is hereby

   ORDERED that Defendant Elliot Kline (a.k.a. Eli Mosley) SHALL APPEAR before the

   Honorable Norman K. Moon, Senior United States District Judge, on MONDAY, NOVEMBER

   25, 2019, AT 1:00 P.M. EST at the United States Courthouse in Charlottesville, Virginia, to

   SHOW CAUSE why he should not be adjudged in contempt by reason of the facts so certified.

   28 U.S.C. § 636(e)(6); see Proctor, 830 F.2d at 521. Judge Moon may consider additional

   “evidence from the parties either to challenge the accuracy of the facts certified by the

   [undersigned] magistrate [judge] or to establish the existence of other relevant facts” in

   determining “whether . . . a finding of contempt [is] warranted.” Proctor, 830 F.2d at 522.

                                      IV. Recommended Sanctions

          Whether Kline’s conduct “constitutes contempt and any sanctions therefore are

   committed to discretion of the” presiding district judge. Church, 35 F. Supp. 2d at 217; see also

   JTH Tax, Inc., 359 F.3d at 705. “Upon certification” under § 636(e)(6), however, the “magistrate

   judge may recommend that certain sanctions be imposed by the district court upon a finding of

   contempt.” Church, 35 F. Supp. 2d at 217. Based on my familiarity with the protracted pretrial

   discovery in this case generally, and Kline’s “[c]ontinued contumacious behavior” in particular,

   Mem Op. of Aug. 9, 2019, at 33 (quoting Flame S.A. v. Indus. Carriers, Inc., 39 F. Supp. 3d 752,

   765 (E.D. Va. 2014)), I respectfully recommend that the presiding district judge GRANT IN



                                                    12

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 12 of 14 Pageid#: 7265
   PART Plaintiffs’ motion, ECF No. 565, and impose the following graduated sanctions to coerce

   Kline’s compliance with my prior discovery orders:

      1. For the first week of contempt, order Kline to pay Plaintiffs $100 per day of

          noncompliance;

      2. For the second week of contempt, order Kline to pay Plaintiffs $250 per day of

          noncompliance;

      3. For the third week of contempt, order Kline to pay Plaintiffs $500 per day of

          noncompliance;

      4. In the fourth week of contempt, issue a capias directing the United States Marshal

          Service to arrest Kline, transport him to this judicial district, and hold him in custody

          until he purges himself of contempt.

   See Pls.’ Second Mot. for Sanctions 4 ¶¶ 1–2. Kline should have an “opportunity to reduce or

   avoid” any indefinite fines and, if necessary, imprisonment by completing each affirmative step

   set out in my prior discovery orders. Int’l Union, United Mine Workers of Am. v. Bagwell, 512

   U.S. 821, 828–29 (1994); see In re Gen. Motors Corp., 110 F.3d 1003, 1015–18 & n.16 (4th Cir.

   1997); Schwartz v. Rent-A-Wreck of Am., 261 F. Supp. 3d 607, 617 (D. Md. 2017).

          Plaintiffs’ renewed requests for evidentiary sanctions under Rule 37(b)(2), see Pls.’

   Second Mot. for Sanctions 4 ¶¶ 3–5, are hereby TAKEN UNDER ADVISEMENT pending the

   resolution of Kline’s civil contempt proceedings before Judge Moon, see Mem. Op. of Aug. 9,

   2019, at 24–25, 34–35; Order of Aug. 9, 2019, ECF No. 540. The Court will determine the

   amount of reasonable attorney’s fees to award Plaintiffs, see ECF No. 505, in a separate Order.

   The Court notes that Kline did not file a brief opposing the fee petition by the Court’s extended

   deadline, see ECF No. 508.



                                                   13

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 13 of 14 Pageid#: 7266
              IT IS SO ORDERED.

              The Clerk shall send a copy of this Order to Kline at his addresses of record and to the

   parties.

                                                           ENTER: October 30, 2019



                                                           Joel C. Hoppe
                                                           U.S. Magistrate Judge




                                                      14

Case 3:17-cv-00072-NKM-JCH Document 584 Filed 10/30/19 Page 14 of 14 Pageid#: 7267
